          Case 1:23-cv-00108-LMB-JFA Document 715-1 Filed 05/31/24 Page 1 of 12 PageID# 18413




                                                AMENDED APPENDIX A

Exhibit
                               Description                                               Basis for Sealing
 No.
                                                                   Google has filed Exhibit 1 under seal pursuant to Plaintiffs’
                                                                   designation as highly confidential.


                                                                Google does not take a position on whether all of Exhibit 1
          Excerpts from the Expert Report of Robin S. Lee on should remain under seal. However, Google requests, as
  1       behalf of Plaintiffs in this case, dated December 22, denoted by the blue highlighting, limited redactions of certain
          2023                                                  non-public financial information; detailed charts containing
                                                                market share analyses and calculations based either entirely or
                                                                in part on Google’s internal, non-public proprietary data; and
                                                                other analyses based on Google’s non-public proprietary data.
                                                                Google’s proposed redactions are narrowly targeted and would
                                                                still allow the public to understand Exhibit 1’s meaning.

          Excerpts from the Expert Report of Rosa M. Abrantes-
                                                               Google has filed Exhibit 2 under seal pursuant to Plaintiffs’
  2       Metz on behalf of Plaintiffs in this case, dated
                                                               designation as highly confidential.
          December 22, 2023

                                                                   Google has filed Exhibit 3 under seal pursuant to Plaintiffs’
                                                                   designation as highly confidential.
                                                                   Google does not take a position on whether all of Exhibit 3
          Excerpts from the Expert Rebuttal Report of Robin S. should remain under seal. However, Google requests, as
  3       Lee on behalf of Plaintiffs in this case, dated February denoted by the blue highlighting, limited redactions of certain
          13, 2024                                                 detailed charts containing market share analyses and other
                                                                   calculations based either entirely or in part on Google’s
                                                                   internal, non-public proprietary data. Google’s proposed
                                                                   redactions are narrowly targeted and would still allow the
                                                                   public to understand Exhibit 3’s meaning.




                                                              1
          Case 1:23-cv-00108-LMB-JFA Document 715-1 Filed 05/31/24 Page 2 of 12 PageID# 18414




Exhibit
                               Description                                               Basis for Sealing
 No.
          Excerpts from the Expert Report of Gabriel Weintraub
                                                                   Google has filed Exhibit 4 under seal pursuant to Plaintiffs’
  4       on behalf of Plaintiffs in this case, dated December 22,
                                                                   designation as highly confidential.
          2023

                                                                   Google has filed Exhibit 5 under seal pursuant to Plaintiffs’
                                                                   designation as highly confidential.


          Excerpts from the Expert Report of Timothy Simcoe Google does not take a position on whether all of Exhibit 5
  5       on behalf of Plaintiffs in this case, dated December 22, should remain under seal. However, Google requests, as
          2023                                                     denoted by blue highlighting, limited redactions of discussion
                                                                   of non-public competitively sensitive customer contract terms
                                                                   as well as analyses based on Google’s non-public proprietary
                                                                   data. Google’s proposed redactions are narrowly targeted and
                                                                   would still allow the public to understand Exhibit 5’s meaning.

          Excerpts from the transcript of the deposition of Google has filed Exhibit 7 partially under seal due to
  7       Kenneth Wilbur, expert witness on behalf of Plaintiffs discussion of a third-party’s deposition testimony designated
          in this case, taken on March 1, 2024                   as confidential.

                                                                   Google has filed Exhibit 8 under seal pursuant to its
                                                                   designation as Highly Confidential under paragraph 7(b) of the
                                                                   Modified Protective Order.
                                                                    Google does not take a position on whether all of Exhibit 8
          Excerpts from the transcript of the deposition of Robin should remain under seal. However, Google requests, as
  8       Lee, expert witness on behalf of Plaintiffs in this case, denoted by blue highlighting, limited redactions pertaining to
          taken on March 15, 2024                                   discussion of market share analyses and calculations based on
                                                                    Google’s internal, non-public proprietary data, as well as
                                                                    confidential revenue information. Google’s proposed
                                                                    redactions are narrowly targeted and would still allow the
                                                                    public to understand Exhibit 8’s meaning.



                                                              2
          Case 1:23-cv-00108-LMB-JFA Document 715-1 Filed 05/31/24 Page 3 of 12 PageID# 18415




Exhibit
                               Description                                              Basis for Sealing
 No.
          Excerpts from the transcript of the deposition of
          Benneaser John in his capacity as a corporate Google has filed Exhibit 9 under seal pursuant to third-party
  9
          representative of Microsoft pursuant to Federal Rule of Microsoft’s designation as highly confidential.
          Civil Procedure 30(b)(6), taken on September 8, 2023

          Excerpts from the transcript of the deposition of John
          Dederick in his capacity as a corporate representative Google has filed Exhibit 10 under seal pursuant to third-party
  10
          of The Trade Desk pursuant to Federal Rule of Civil Trade Desk’s designation as highly confidential.
          Procedure 30(b)(6), taken on July 28, 2023

          Excerpts from the transcript of the deposition of Luke
          Lambert in his capacity as a corporate representative of Google has filed Exhibit 11 under seal pursuant to third-party
  11
          Omnicom pursuant to Federal Rule of Civil Procedure Omnicom’s designation as highly confidential.
          30(b)(6), taken on August 29, 2023

          Excerpts from the transcript of the deposition of Kristy
          Kozlowski in her capacity as a corporate representative Google has filed Exhibit 13 under seal pursuant to third-party
  13
          of Comcast pursuant to Federal Rule of Civil Comcast’s designation as highly confidential.
          Procedure 30(b)(6), taken on September 6, 2023

          Email correspondence from E. Stoltz to R. Herrera, et
          al., with subject line “[EXTERNAL] SPM Paid Media
          Plan,” with attachment, dated June 16, 2021, produced Google has filed Exhibit 14 under seal pursuant to Plaintiffs’
  14
          by the DOJ on behalf of the VA in this matter, and designation as highly confidential.
          bearing Bates No. VET-AF-ADS-0000122732 to
          VET-AF-ADS-0000122747

          A diagram of the Microsoft Advertising Ecosystem,
          which was used as Exhibit 24 in the deposition of
                                                                  Google has filed Exhibit 24 under seal pursuant to third-party
  24      Benneaser John in his capacity as a corporate
                                                                  Microsoft’s designation as highly confidential.
          representative of Microsoft pursuant to Federal Rule of
          Civil Procedure 30(b)(6), taken on September 8, 2023


                                                              3
          Case 1:23-cv-00108-LMB-JFA Document 715-1 Filed 05/31/24 Page 4 of 12 PageID# 18416




Exhibit
                               Description                                              Basis for Sealing
 No.
          Excerpts from the transcript of the deposition of Todd
          Parsons in his capacity as a corporate representative of Google has filed Exhibit 25 under seal pursuant to third-party
  25
          Criteo pursuant to Federal Rule of Civil Procedure Criteo’s designation as highly confidential.
          30(b)(6), taken on September 8, 2023

                                                                  Google has filed Exhibit 28 under seal pursuant to Plaintiffs’
                                                                  designation as highly confidential.
                                                                   Google does not take a position on whether all of Exhibit 28
          Excerpts from the Expert Report of Ramamoorthi Ravi should remain under seal. However, Google requests, as
  28      on behalf of Plaintiffs in this case, dated December 22, denoted by blue highlighting, limited redactions pertaining to
          2023                                                     discussion of certain confidential technical and product
                                                                   information as well as pricing information. Google’s proposed
                                                                   redactions are narrowly targeted and would still allow the
                                                                   public to understand Exhibit 28’s meaning.

          Excerpts from a presentation titled “DSP Investment
          Strategy,” dated May 20, 2019, produced by AT&T in Google has filed Exhibit 29 under seal pursuant to third-party
  29
          this matter, bearing Bates No. ATT-GCID-00111192 Microsoft’s designation as confidential.
          to ATT-GCID-00111288

          Excerpts from the transcript of the deposition of Google has filed Exhibit 32 partially under seal as it contains
  32      Ramamoorthi Ravi, expert witness on behalf of discussion of a third-party’s deposition testimony designated
          Plaintiffs in this case, taken February 20, 2024  as highly confidential.




                                                              4
          Case 1:23-cv-00108-LMB-JFA Document 715-1 Filed 05/31/24 Page 5 of 12 PageID# 18417




Exhibit
                              Description                                              Basis for Sealing
 No.
                                                                Google has filed Exhibit 33 partially under seal for two
                                                                reasons. First, as denoted in yellow highlighting, Exhibit 33
                                                                contains material designated highly confidential by Plaintiffs.
          Excerpts from the Expert Report of Mark A. Israel on Second, as denoted by blue highlighting, Google requests
  33
          behalf of Google in this case, dated January 23, 2024 limited redactions pertaining to discussion of certain product
                                                                policy and technical specifications. Google’s proposed
                                                                redactions are narrowly targeted and would still allow the
                                                                public to understand Exhibit 33’s meaning.

          Excerpts from a presentation titled “Board Meeting,”
          dated January 29, 2019, produced by PubMatic in this Google has filed Exhibit 34 under seal pursuant to third-party
  34
          matter, and bearing Bates No. PUBMATIC_DOJ- Pubmatic's designation as highly confidential.
          00000132 to PUBMATIC_DOJ-00000203

          Excerpts from a presentation titled “Neil-OpenX
          Discussion,” dated 2018, produced by OpenX in this Google has filed Exhibit 35 under seal pursuant to third-party
  35
          matter, and bearing Bates No. OPENX-00001018 to Open X’s designation as highly confidential.
          OPENX-00001049

          Printout of an Excel spreadsheet showing Sovrn
          exchange revenue, dated Q1 2015 to Q4 2022, Google has filed Exhibit 36 under seal pursuant to third-party
  36
          produced by Sovrn in this matter, and bearing Bates Sovrn’s designation as confidential.
          No. SVRN000076

          Excerpts from the Expert Report of Judith A. Chevalier
                                                                 Google has filed Exhibit 38 partially under seal because it
  38      on behalf of Google in this case, dated January 23,
                                                                 contains material designated confidential by Plaintiffs.
          2024

          Excerpts from the Expert Rebuttal Report of Rosa M.
                                                              Google has filed Exhibit 44 under seal pursuant to Plaintiffs’
  44      Abrantes-Metz on behalf of Plaintiffs in this case,
                                                              designation as highly confidential.
          dated February 13, 2024



                                                             5
          Case 1:23-cv-00108-LMB-JFA Document 715-1 Filed 05/31/24 Page 6 of 12 PageID# 18418




Exhibit
                               Description                                                Basis for Sealing
 No.
                                                                    Google has filed Exhibit 46 partially under seal because
          Document titled “AWBid 2021 Strategy Paper,” dated        Google requests limited redactions pertaining to discussion of
          Aug 3, 2020, produced by Google in this matter, and       non-public financial, pricing, and technical information
  46
          bearing Bates No. GOOG-DOJ-AT-02307442 to                 relating to Google’s AwBid product program. Google’s
          GOOG-DOJ-AT-02307446                                      proposed redactions are narrowly targeted and would still
                                                                    allow the public to understand Exhibit 46’s meaning.

          Excerpts from the transcript of the deposition of James
          Glogovsky in his capacity as a corporate representative Google has filed Exhibit 51 under seal pursuant to third-party
  51
          of The New York Times pursuant to Federal Rule of New York Times’ designation as highly confidential.
          Civil Procedure 30(b)(6), taken on August 25, 2023

                                                                    Google has filed Exhibit 62 under seal pursuant to Plaintiffs’
                                                                    designation as highly confidential.


                                                                   Google does not take a position on whether all of Exhibit 62
                                                                   should remain under seal. However, as denoted by blue
          Excerpts from the Expert Rebuttal Report of Adoria highlighting, Google requests limited redactions pertaining to
  62      Lim on behalf of Plaintiffs in this case, dated February discussion of Google’s confidential and competitively
          13, 2024                                                 sensitive financial information, including profit and loss
                                                                   statements. Google also requests limited redactions pertaining
                                                                   to certain other confidential financial information, such as non-
                                                                   public revenue numbers. Google’s proposed redactions are
                                                                   narrowly targeted and would still allow the public to
                                                                   understand Exhibit 62’s meaning.

          Excerpts from the transcript of the deposition of
                                                             Google has filed Exhibit 66 partially under seal pursuant to
          Christopher Koepke in his capacity as a corporate
  66                                                         Plaintiffs’ designation as confidential, which is denoted by
          representative of CMS pursuant to Federal Rule of
                                                             yellow highlighting.
          Civil Procedure 30(b)(6), taken on August 25, 2023



                                                               6
          Case 1:23-cv-00108-LMB-JFA Document 715-1 Filed 05/31/24 Page 7 of 12 PageID# 18419




Exhibit
                               Description                                                Basis for Sealing
 No.
          Email correspondence from S. Edlavitch to E. Blazar,
          et al., with subject line “Re: OE8 Campaign results,”
                                                                Google has filed Exhibit 67 under seal pursuant to Plaintiffs’
  67      dated January 28, 2021, produced by the DOJ on behalf
                                                                designation as highly confidential.
          of CMS in this matter, and bearing Bates No. CMS-
          ADS-0000373744 to CMS-ADS-0000373745

                                                                    Google has filed Exhibit 68 partially under seal, in part,
                                                                    because it contains discussion of Google’s highly sensitive and
                                                                    confidential financials and profits, which is denoted by blue
                                                                    highlighting. Google requests limited redactions pertaining to
          Excerpts from the transcript of the deposition of Adoria this confidential and competitively sensitive financial
  68      Lim, expert witness on behalf of Plaintiffs in this case, information. Google’s proposed redactions are narrowly
          taken on February 29, 2024                                targeted and would still allow the public to understand Exhibit
                                                                    68’s meaning.
                                                                   Google has also filed Exhibit 68 partially under seal due to
                                                                   discussion of third-party confidential information, which is
                                                                   denoted by yellow highlighting.

          Excerpts from a document titled “Integrated
          Communications Contract: Revised Technical
          Proposal – Media Planning and Buying,” dated
                                                                 Google has filed Exhibit 69 under seal pursuant to Plaintiffs’
  69      October 5, 2018, produced by the DOJ in this matter
                                                                 designation as highly confidential.
          on behalf of the U.S. Census Bureau, and bearing Bates
          No. CENSUS-ADS-0000387420 to CENSUS-ADS-
          0000387490




                                                              7
          Case 1:23-cv-00108-LMB-JFA Document 715-1 Filed 05/31/24 Page 8 of 12 PageID# 18420




Exhibit
                              Description                                             Basis for Sealing
 No.
          Excerpts from email correspondence from G. Mason to
          S. McMeen, et al., with subject line “Media Overview
          Slides,” with attachment, dated June 25, 2019, Google has filed Exhibit 70 under seal pursuant to Plaintiffs’
  70
          produced by the DOJ on behalf of NHTSA in this designation as highly confidential.
          matter, and bearing Bates No. NHTSA-ADS-
          0000337070 to NHTSA-ADS-0000337119

          Excerpts from email correspondence from S. Chang to
          C. Karpenko, et al., with subject line “RE: UM
          Contract,” with attachments, dated January 17, 2023, Google has filed Exhibit 71 under seal pursuant to Plaintiffs’
  71
          produced by the DOJ on behalf of USPS in this matter, designation as highly confidential.
          and bearing Bates No. USPS-ADS-0000902290 to
          USPS-ADS-0000902373

          Excerpts       from       a       document       titled
          “Solicitation/Contract/Order for Commercial Items,”
          dated September 10, 2021, produced by the DOJ on Google has filed Exhibit 72 under seal pursuant to Plaintiffs’
  72
          behalf of the VA in this matter, and bearing Bates No. designation as highly confidential.
          VET-AF-ADS-0000461239            to    VET-AF-ADS-
          0000461287

          Excerpts       from       a      document      titled
          “Solicitation/Contract/Order for Commercial Items,”
          dated May 20, 2021, produced by the DOJ in this Google has filed Exhibit 73 under seal pursuant to Plaintiffs’
  73
          matter on behalf of the U.S. Navy, and bearing Bates designation as highly confidential.
          No. NAVY-ADS-0000256935 to NAVY-ADS-
          0000257031




                                                            8
          Case 1:23-cv-00108-LMB-JFA Document 715-1 Filed 05/31/24 Page 9 of 12 PageID# 18421




Exhibit
                              Description                                              Basis for Sealing
 No.
          Email correspondence from K. Housein to P. Jenkins,
          et al., regarding task order award, with attachments,
                                                                Google has filed Exhibit 74 under seal pursuant to Plaintiffs’
  74      dated June 14, 2022, produced by the DOJ on behalf of
                                                                designation as highly confidential.
          CMS in this matter, and bearing Bates No. CMS-ADS-
          0000018746 to CMS-ADS-0000018790

          Excerpts from email correspondence from N. Rudyk to
          B. Dickey, et al., regarding media plan
          recommendation, with attachment, dated September Google has filed Exhibit 75 under seal pursuant to Plaintiffs’
  75
          18, 2022, produced by the DOJ on behalf of the U.S. designation as confidential.
          Air Force in this matter, and bearing Bates No. USAF-
          ADS-0000001422 to USAF-ADS-0000001476

          Excerpts from email correspondence from S. McMeen
          to J. Vallese, et al., regarding NHTSA request for
          proposal and task orders, with attachments, dated Google has filed Exhibit 76 under seal pursuant to Plaintiffs’
  76
          October 20, 2022, produced by the DOJ on behalf of designation as confidential.
          NHTSA in this matter, and bearing Bates No. NHTSA-
          ADS-0000344712 to NHTSA-ADS-0000344846

          Email correspondence from N. Broler to L. Morris, et
          al., with subject line “[Non-DoD Source] Re: Revised
          Optimization Process Review,” with attachment, dated
                                                                 Google has filed Exhibit 77 under seal pursuant to Plaintiffs’
  77      April 8, 2022, produced by the Department of Justice
                                                                 designation as confidential.
          (“DOJ”) on behalf of the U.S. Army in this matter, and
          bearing Bates No. ARMY-ADS-0000060557 to
          ARMY-ADS-0000060559




                                                             9
          Case 1:23-cv-00108-LMB-JFA Document 715-1 Filed 05/31/24 Page 10 of 12 PageID# 18422




Exhibit
                              Description                                              Basis for Sealing
 No.
          Excerpts from a document titled “Order for Supplies or
          Services,” dated November 21, 2018, produced by the
                                                                 Google has filed Exhibit 78 under seal pursuant to Plaintiffs’
  78      DOJ in this matter on behalf of the U.S. Census
                                                                 designation as highly confidential.
          Bureau, and bearing Bates No. CENSUS-ADS-
          0000075450 to CENSUS-ADS-0000075493

                                                                  Google has filed Exhibit 82 partially under seal because it
          Document titled "Google Marketing Platform Order        contains detailed information about Google’s non-public
          Form – Advertising Services," dated January 30, 2013,   customer pricing and contractual terms. Google requests
  82      produced by Google in this matter, and bearing Bates    limited redactions of this competitively sensitive and
          No. GOOG-AT-MDL-019566844 to GOOG-AT-                   proprietary information pertaining to contractual terms.
          MDL-019566850                                           Google’s proposed redactions are narrowly targeted and would
                                                                  still allow the public to understand Exhibit 82’s meaning.

          Excerpts from a presentation titled “Future of
          Advertising,” dated July 2020, produced by Microsoft Google has filed Exhibit 87 under seal pursuant to third-party
  87
          in this matter, and bearing Bates No. MSFT-LIT- Microsoft’s designation as confidential.
          0000000137

          Excerpt from a report on a 2022 ad campaign on behalf
          of the National Highway Traffic Safety Administration
          (“NHTSA”), which was used as Exhibit 143 in the
                                                                Google has filed Exhibit 88 completely under seal pursuant to
  88      deposition of Susan McMeen in her capacity as a
                                                                Plaintiffs' designation as highly confidential.
          corporate representative of NHTSA pursuant to
          Federal Rule of Civil Procedure 30(b)(6), taken on
          September 26, 2023

          Excerpts from a presentation titled “SSP Business
          Investment Case,” dated November 2019, produced by Google has filed Exhibit 89 under seal pursuant to third-party
  89
          AT&T in this matter, and bearing Bates No. ATT- AT&T’s designation as confidential.
          GCID-00111234 to ATT-GCID-00111288



                                                            10
          Case 1:23-cv-00108-LMB-JFA Document 715-1 Filed 05/31/24 Page 11 of 12 PageID# 18423




Exhibit
                              Description                                              Basis for Sealing
 No.
                                                                 Google has filed Exhibit 90 partially under seal because it
          Document titled "PStaff Meeting – 5/29/2018: DVIP      contains confidential financial information, including revenue,
          2019 and beyond," dated May 29, 2018, produced by      related to a discount program. Google requests limited
  90
          Google in this matter, and bearing Bates No. GOOG-     redactions of this competitively sensitive information.
          DOJ-03331721 to GOOG-DOJ-03331727                      Google’s proposed redactions are narrowly targeted and would
                                                                 still allow the public to understand Exhibit 90’s meaning.

          Errata to the Expert Report of Timothy Simcoe, dated Google has filed Exhibit 92 under seal pursuant to Plaintiffs’
  92
          January 13, 2024                                     designation as highly confidential.

          Excerpts from the Expert Rebuttal Report of Timothy
                                                              Google has filed Exhibit 93 under seal pursuant to Plaintiffs’
  93      Simcoe on behalf of Plaintiffs in this case, dated
                                                              designation as highly confidential.
          February 13, 2024

          Excerpts from a document titled “2020 Census
          Integrated Communications Plan,” dated June 2, 2017,
                                                               Google has filed Exhibit 95 under seal pursuant to Plaintiffs'
  95      produced by the DOJ in this matter on behalf of the
                                                               designation as highly confidential.
          U.S. Census Bureau, and bearing Bates No. CENSUS-
          ADS-0000029308 to CENSUS-ADS-0000029521

          Backup data for Figure 11 of Appendix E of the Expert Google has filed Exhibit 97 under seal pursuant to Plaintiffs’
  97
          Rebuttal Report of Adoria Lim                         designation as highly confidential.

          Excerpts from a document titled “Digital Media Bill,”
          dated November 21, 2022, produced by the DOJ in this
                                                                Google has filed Exhibit 99 under seal pursuant to Plaintiffs’
  99      matter on behalf of the U.S. Navy, and bearing Bates
                                                                designation as highly confidential.
          No. NAVY-ADS-0000373978 to NAVY-ADS-
          0000374145




                                                            11
          Case 1:23-cv-00108-LMB-JFA Document 715-1 Filed 05/31/24 Page 12 of 12 PageID# 18424




Exhibit
                             Description                                          Basis for Sealing
 No.
          Excerpts from the transcript of the deposition of Tim
          Craycroft, Google’s Vice President and General Google has filed Exhibit 83 under seal pursuant to third-party
  83
          Manager for YouTube ads, display ads, app ads, and Amazon’s designation as highly confidential.
          publisher products, taken on August 15, 2023.

          Correspondence from M. Goodman to J. Wood Google has filed Exhibit 96 under seal pursuant to Plaintiffs’
  96
          regarding this matter, dated February 21, 2024. designation as highly confidential.




                                                         12
